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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

 In re:                                            )      Chapter 11
                                                   )
 SEA ISLAND COMPANY, et al.,                       )      Case No. 10-21034
                                                   )      Jointly Administered
                                                   )
               Debtors.                            )      Judge John S. Dalis
                                                   )

 NOTICE OF FILING OF SCHEDULE 3.17 TO THE ASSET PURCHASE AGREEMENT

               Sea Island Company; Sea Island Coastal Properties LLC; Sea Island Services,

 Inc.; Sea Island Resort Residences, LLC; Sea Island Apparel, LLC; First Sea Island, LLC; and

 SICAL, LLC (collectively, the “Debtors”) hereby file Schedule 3.17 to the Asset Purchase

 Agreement by and among Sea Island Acquisition LP, Sea Island Company, Sea Island Coastal

 Properties LLC, Sea Island Resort Residences, LLC, First Sea Island, LLC, Sea Island

 Apparel, LLC and Sea Island Services, Inc. dated as of October 19, 2010 attached hereto as

 Exhibit A.

 Dated: October 20, 2010                    Respectfully submitted,
        Brunswick, Georgia
                                            GILBERT, HARRELL, SUMERFORD &
                                            MARTIN, P.C.

                                            /s/ Robert M. Cunningham
                                            M. F. Martin, III
                                            Georgia Bar No. 473500
                                            mfmartin@gilbertharrelllaw.com
                                            Robert M. Cunningham
                                            Georgia Bar No. 202228
                                            rcunningham@gilbertharrelllaw.com
                                            777 Gloucester Street, Suite 200
                                            P.O. Box 190
                                            Brunswick, Georgia 31521-0190
                                            Telephone:     (912) 265-6700
                                            Facsimile:     (912) 264-3917
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                                            and

                                     KING & SPALDING LLP
                                     Sarah R. Borders
                                     Georgia Bar No. 610649
                                     sborders@kslaw.com
                                     Harris Winsberg
                                     Georgia Bar No. 770892
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                                     1180 Peachtree Street
                                     Atlanta, Georgia 30309-3521
                                     Telephone: (404) 572-4600
                                     Facsimile:     (404) 572-5128

                                     COUNSEL FOR THE
                                     DEBTORS-IN-POSSESSION
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                                   EXHIBIT A
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                                    Exhibit G
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Deposit membership application
Membership Deposit — $150,000

Date of Application: ____________________________________
To the Sea Island Company (“The Owner”) or Membership Committee:
Request is hereby made by the undersigned for Membership in Sea Island Club (“The Club”). The undersigned has/have read
and understand the Membership Program and the Rules and Regulations of The Club dated October 1, 2000. All eligible
family members per the Membership Program to receive Club cards and charging privileges have signed this application in
order to be issued Club cards.

APPLICANT:_ ______________________________________________________________________________________
	Last Name	                                             First	Middle	Nickname

Social Security Number:_______________________________________             Date of Birth:_ __________________________

E-mail Address:_ _____________________________________________________________________________________

SPOUSE:___________________________________________________________________________________________
	Last Name	                                             First	Middle	Nickname

Social Security Number:_______________________________________             Date of Birth:_ __________________________

E-mail Address:_ _______________________________________________________________
Dues apply for unmarried dependent children under 25 years of age living in the member’s home or attending school on a
full-time basis. Please list all children.

_________________________________________________________________________________________
(Date of Birth)	Social Security No.	Last	                           First	Middle	Signature

_________________________________________________________________________________________
(Date of Birth)	Social Security No.	Last	                           First	Middle	Signature

_________________________________________________________________________________________
(Date of Birth)	Social Security No.	Last	                           First	Middle	Signature

_________________________________________________________________________________________
(Date of Birth)	Social Security No.	Last	                           First	Middle	Signature

REFERENCES:
Business:_ _________________________________________________________________________________
	                          Name	                                    Address	                                  Phone

Social:_ ___________________________________________________________________________________
	                          Name	                                    Address	                                  Phone

LOCAL ADDRESS:
_________________________________________________________________________________________
Name of Development	Street Address	                                                                  Unit Number

_________________________________________________________________________________________
City/State/Zip	Telephone	                                                                              Fax

PERMANENT ADDRESS:
_________________________________________________________________________________________
Street Address	City/State/Zip	Telephone

Type of Business:____________________________________________ Title:__________________________________

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Please CHECK the appropriate box below for correct mailing instructions:
     Mail my BILLS to:	                                               Mail my NEWSLETTER and all other club information to:

__________________________________________ 	                     ____________________________________________
__________________________________________ 	                     ____________________________________________
__________________________________________ 	                     ____________________________________________

Please furnish your license plate numbers for your automobile decals:
#1:_______________________________________________________________________________________
	Tag #	State	                                  Year	Model/Make	Color

#2:_______________________________________________________________________________________
	Tag #	State	                                  Year	Model/Make	Color


BANK RELEASE INFORMATION:
BANK NAME:_ _________________________________________	ACCOUNT NUMBER_______________________
BANK ADDRESS:_ ______________________________________

BANK PHONE:_________________________________________	BANK FAX:________________________________

CONTACT:____________________________________________

Complete Application in entirety and affix all signatures. Return Application with your check made payable to Sea Island
Company in the amount of $150,000 for the Membership Deposit.
Applicant understands that The Club is owned by Sea Island Company and that a Membership in The Club is not an investment
nor does it provide an equity or ownership interest in The Club or its facilities or in Sea Island Company. Applicant acknowledges
receipt of the Membership Program dated October 1, 2000, and Rules and Regulations currently in force, a schedule of prevailing
dues and agrees to be bound by all of their respective terms and conditions, as they may be amended from time to time. (Dues,
fees and charges may be subject to Georgia Sales Tax. Membership fees, use and facility fees subject to change without notice.)
If this application is made by both Applicant and Spouse Applicant, both must sign below, agreeing that the Membership will
be issued in both their names upon approval for Membership and will be considered a joint asset and further agree that they
shall be jointly and severally liable for all dues, charges and other amounts from time to time owing to The Owner, including
all charges incurred by family members listed on this Application.

________________________________________________________                             Date:_ _________________________
Applicant Signature

________________________________________________________                             Date:_ _________________________
Spouse Applicant Signature



APPROVED AND ACCEPTED:
SEA ISLAND COMPANY
BY:______________________________________________________                            Date:_ _________________________




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                                                                     Conditions
A.	 This Application shall entitle the undersigned Applicant and, if applicable, Spouse Applicant (hereinafter, “Applicant”) to Membership privileges at Sea
Island Club (“The Club”) after Applicant is approved and accepted by The Owner. This application will not be acted upon unless fully completed, executed and
accompanied by a check for payment of the Membership Deposit. The undersigned understands that this Membership Application is irrevocable after mailing
or delivery to The Club, unless it is not approved.
B.	 Applicant acknowledges receipt of and agrees, by execution of this Membership application, that upon acceptance of application by The Owner, to be
bound by the Membership Program dated October 1, 2000, and Rules and Regulations currently in force, as may be amended from time to time (collectively,
the “Membership Program”). Membership is subject to suspension or termination for failure to abide by Membership conditions. Applicant further
acknowledges and agrees to be responsible for all charges incurred which shall be due and payable no later than ten (10) days from the date of the monthly
statement. All costs and expenses incurred by The Owner in the collection of any amounts not paid when due, including, but not limited to court costs and
attorney’s fees, whether at the trial level or on appeal, shall be charged to Applicant, and shall be due and payable upon demand.
C.	 Applicant acknowledges that the Membership is not an investment in The Club or Sea Island Company nor does it provide an equity or ownership interest
in the Club Facilities, which are owned solely by Sea Island Company. Membership in The Club does not confer upon the Applicant a vested right or prescriptive
right or easement to use the Club Facilities. Applicant acknowledges that a Member only acquires a revocable license to use the Club Facilities in accordance
with the Membership Program. The Owner reserves the right, at any time or from time to time, in its sole and absolute discretion, to reserve Memberships for
future purchases of property in communities designated by The Owner from time to time, to discontinue operation of any or all of the Club Facilities, to sell
or otherwise dispose of the Club Facilities in any manner whatsoever and to any person whomsoever, to terminate any type of Membership and make any other
changes to the terms and conditions of Membership or the facilities available for use by Members. Applicant acknowledges that the Membership Program may
be terminated at any time by The Owner upon a sale or conveyance of all or substantially all of the Club Facilities.
D.	 Applicant covenants and agrees to indemnify and hold harmless The Owner and The Club and their directors, officers, employees, agents and Members
of the Advisory Board of Governors in accordance with the provisions of the Rules and Regulations of The Club.
E.	   Applicant acknowledges that use of the Club Facilities may be restricted and that use charges may vary from time to time according to season.
F.	   Applicant, by submitting this application, irrevocably waives his or her present and prior rights in or to use the Club Facilities, if any.
G.	 Applicant acknowledges that The Owner has the right to receive such information for the investigation of Applicant’s qualifications for Membership as it
deems appropriate, including, without limitation, Applicant’s credit history. Applicant further authorizes any person or entity to disclose to The Owner all
information requested by The Owner.
H.	 Applicant acknowledges that upon approval of this Membership Application and payment of the Membership Deposit, The Owner hereby promises to pay
to Applicant, at the offices of The Owner, One Hundred Fifty Thousand Dollars ($150,000), without interest, in lawful money of the United States of America, on
the anniversary date thirty (30) years from the date of issuance of the Membership by The Owner to Applicant. In the event of (i) the death of Applicant and
the surviving spouse elects to terminate membership, (ii) the death of both Applicant and Applicant’s spouse and the surviving children elect not to designate
one adult child as the successor member, (iii) sale, conveyance or other transfer of all or substantially all of the Club Facilities and the buyer elects to terminate
the Membership Program, in the buyer’s sole and absolute discretion, or (iv) discontinuance of operation of all or substantially all of Club Facilities, then The
Owner shall repay the Membership Deposit, without interest, within thirty (30) days of receipt of written notice of such an event. Upon repayment of the
Membership Deposit thirty (30) years from the date of issuance of the Membership or upon the happening of any of the events described in clauses (i) through
(iv) above and repayment of the Membership Deposit by the Owner, the Membership will terminate and Applicant will no longer be entitled to use the Club
Facilities, unless Applicant’s Membership is renewed under terms and conditions set forth in the Membership Program. In the case of repayment in the instances
set forth above, any amounts due to The Owner which remain unpaid on the date of repayment of the Membership Deposit shall be deducted from the
Membership Deposit.
      Resignation is permitted only in accordance with the Membership Program. In the event Applicant resigns from The Club and the Membership is not being
transferred to the purchaser of Applicant’s qualified residence in a Sea Island Company development or to the Applicant’s adult child, the resigned Membership
will be offered for resale, on the basis of first-resigned, first-resold. As long as The Owner has Memberships available for initial sale, every fifth membership
issued by the Owner will be a resigned Membership, if a resigned membership is available for resale at such time. If the Owner no longer has Memberships
available for initial sale, Memberships will be sold on the basis of first-resigned, first-resold. The fully paid Membership Deposit, without interest, will be
returned within thirty (30) days after the Membership has been reissued by The Club to a new Member in the manner provided by the Membership Program.
Upon resignation of the Membership, Applicant shall no longer be entitled to use The Club Facilities.
     The Membership Deposit shall not bear interest. The right of Applicant to receive the repayment of the Membership Deposit without interest is
not transferable or negotiable except to Applicant’s surviving spouse or the Applicant’s adult child designated as the successor Member.




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                  Ocean Forest Golf Club
                                     Acceptance Form


I hereby accept the invitation to Membership in Ocean Forest Golf Club (“the Club”). My name should be
placed on the membership roster as follows:



Name______________________________________________________________________________________

Home Address______________________________________________________________________________

City________________________________________________ State __________________ Zip_____________

Telephone__________________________________________________________________________________

Type of Business_____________________________________________________________________________

Company Name_____________________________________________________________________________

Business Address_____________________________________________________________________________

City________________________________________________ State __________________ Zip_____________

Business Telephone_ __________________________________ Fax____________________________________

Email Address_______________________________________________________________________________


                             other club memberships
                            (please designate whether a current or former membership)

	               Name of Club	                            City, State	                   Current/Former
1._____________________________ 	 ___________________________	                     ____________________

2._____________________________ 	 ___________________________	                     ____________________

3._____________________________ 	 ___________________________	                     ____________________

I would like my statements mailed to:          Home           Business

In case of emergency, the Club should contact:
Spouse___________________________ 	          ___________________________ 	      ________________________
	                   Name	                                 Day Phone	                     Night Phone

Other____________________________ 	          ___________________________ 	      ________________________
	                   Name	                                 Day Phone	                     Night Phone
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	        1. I hereby accept my invitation to become a Member of the Club and submit with this Acceptance
my check in the amount of $                           payable to the Sea Island Company in payment of the
Initiation Deposit for my Membership or (if applicable) the Initiation Deposits for my Membership and the
Spousal Membership for my spouse.

	       2. I understand that Membership privileges are contingent upon payment of all required dues and
other charges.

	        3. I hereby acknowledge that the use of the Club facilities and any privilege or service incident to
Membership in the Club is voluntary and that any use or acceptance of any service or privilege incident to
Membership is undertaken with knowledge of the risk of possible injury. I hereby accept any and all risk of
injury to myself, my guests and my family members sustained while using the Club facilities or involved in any
event or activity incident to Membership in the Club. In accepting the risk of injury, I understand that I am
relieving the Sea Island Company and the Club and their respective affiliates, directors, officers, employees,
representatives and agents from any and all losses, costs, claims, injuries, damages or liabilities sustained or
incurred by me, my guests and my family members resulting from or arising out of any conduct or event
connected with Membership in the Club or use of any of the Club facilities, including any act negligently taken
or omitted by the Club.

	       4. I hereby acknowledge receipt of the Rules an Regulations of the Club dated January 1, 2009 and
agree to be bound by the terms and conditions thereof as the same may be amended by the Club from time
to time in its discretion. I understand that my Membership may be terminated for failure to abide by the Rules
and Regulations of the Club.

	       5. I hereby acknowledge that my Initiation Deposit will be repaid in accordance with the terms and
conditions of the above Rules and Regulations.


	                                   _______________________ 	       ___________________________________ 	

		                                            Date	                                Member’s Signature


	                                   _______________________ 	       ___________________________________ 	

		                                            Date	                             Spousal Member’s Signature




                       TO BE COMPLETED BY THE CLUB:
	      This Acceptance shall not be binding on the club until the acceptance below is signed. The
Club agrees to repay the Initiation Deposit paid by the Membership in accordance with the Rules and
Regulations of the Club.


	                                   _______________________ 	       ___________________________________
		                                            Date	                                       Name
	
	                                                                   ___________________________________ 	

			                                                                                       Title



For further information, contact A.W. Jones III at 912-638-5158.


                                                                                                             7990/8-26-09
